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AO 440 (Rev. 05/00) Summons in a Civil Action



                                       UNITED STATES DISTRICT COURT
                                                    NORTHERN DISTRICT OF ILLINOIS



                                                                           SUMMONS IN A CIVIL CASE
LULULEMON ATHLETICA CANADA INC.,

                                                                 CASE NUMBER:       20-cv-07345
                                V.                               ASSIGNED JUDGE:
                                                                                    John Robert Blakey
 THE PARTNERSHIPS and                                            DESIGNATED
 UNINCORPORATED ASSOCIATIONS                                     MAGISTRATE JUDGE: M. David Weisman
 IDENTIFIED ON SCHEDULE “A”,


                    TO: (Name and address of Defendant)
       The Partnerships and all other Defendants identified in the Complaint




          YOU ARE HEREBY SUMMONED and required to serve upon PLAINTIFF’S ATTORNEY (name and address)

                 Amy C. Ziegler
                 Justin R. Gaudio
                 Allyson Martin
                 Greer, Burns & Crain, Ltd.
                 300 South Wacker Drive, Suite 2500
                 Chicago, Illinois 60606
                                                                               21
an answer to the complaint which is herewith served upon you,                                days after service of this
summons upon you, exclusive of the day of service. If you fail to do so, judgment by default will be taken against you for
the relief demanded in the complaint. You must also file your answer with the Clerk of this Court within a reasonable
period of time after service.




                          RK
     THOMAS G. BRUTON, CLERK

                                                                                      December 21, 2020
                                                                                      Dec

     (By) DEPUTY CLERK                                                                DATE
                                                                                      DAT
                  Case: 1:20-cv-07345 Document #: 34 Filed: 01/06/21 Page 2 of 2 PageID #:1818
AO 440 (Rev. 05/00) Summons in a Civil Action
                                                                 RETURN OF SERVICE
                                                                                        DATE
          Service of the Summons and complaint was made by me(1)                        January 6, 2021
NAME OF SERVER (PRINT)                                                                  TITLE
Isaku Begert                                                                            Attorney of Record
   Check one box below to indicate appropriate method of service

          G Served personally upon the defendant. Place where served:




          G Left copies thereof at the defendant’s dwelling house or usual place of abode with a person of suitable age and
            discretion then residing therein.
              Name of person with whom the summons and complaint were left:

          G Returned unexecuted:




                                   I electronically published the Complaint, TRO, Summons and other relevant documents on a website
          G Other (specify):
              to which the Domain Names will redirect. I sent an e-mail to the e-mail addresses identified in Exhibits 4 and 5 to the Declaration

               of Perveen Atwal and any e-mail addresses provided for Defendants by third parties that includes a link to said website.




                                                            STATEMENT OF SERVICE FEES
TRAVEL                                                SERVICES                                                TOTAL



                                                              DECLARATION OF SERVER

                   I declare under penalty of perjury under the laws of the United States of America that the foregoing information
          contained in the Return of Service and Statement of Service Fees is true and correct.

                                                                                                          Digitally signed by Isaku M. Begert
          Executed on     January 6, 2021                       Isaku M. Begert                           Date: 2021.01.06 14:35:49 -06'00'
                                        Date                    Signature of Server



                                                                300 South Wacker Drive, Suite 2500 Chicago, Illinois 60606
                                                                Address of Server




(1) As to who may serve a summons see Rule 4 of the Federal Rules of Civil Procedure.
